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\P TPW: USAO 2019R00420

IN THE UNITED STATES DISTRICT COURT = 77)). 00 25 >
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA “ p_/
v. é CRIMINAL NO. THC [ter Bo”
ANITRA EDMOND, * (Wire Fraud, 18 U.S.C. § 1343;
. Forfeiture, 18 U.S.C. § 981(a)(1)(C),
Defendant . 21 U.S.C. § 853, 28 U.S.C. § 2461(c))

INFORMATION

COUNT ONE
(Wire Fraud)

The United States Attorney for the District of Maryland charges that:
Introduction
At all times relevant to this Information:

Maryland State Government

 

l. The General Assembly was the State of Maryland’s legislative body. The
bicameral legislature was composed of the Senate, with 47 Senators, and the House of Delegates,
with 141 Delegates.

2. Maryland state law required certain State officials, employees, and candidates for
office to file annual financial disclosure statements.

3 The Maryland State Ethics Commission, as directed in General Provisions Article

§ 5-205, administered the provisions of the Maryland Public Ethics Law.
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The Maryland State Board of Elections and Regulated Campaign Committees

4, The Maryland State Board of Elections regulated state and local elections in
Maryland and was charged with ensuring compliance with both state and federal election laws as
it related to elections that occurred within their respective jurisdictions. The State Board of
Elections maintained a database of campaign donations for state and local election campaigns
and enforced Maryland’s campaign finance laws.

3, The “Friends of Tawanna P. Gaines” (hereinafter “FTPG”) candidate committee
was the name of the campaign finance entity for a candidate’s campaign for Maryland State
Delegate from the date of its establishment in June 2002 through the present. FTPG was a
regulated state election campaign committee. The Defendant, ANITRA EDMOND
(“EDMOND”), was the treasurer of FTPG from 2005 to the present. FITPG held a bank
account at Bank of America, a financial institution insured by the Federal Deposit Insurance
Corporation. EEDMOND was the sole signatory on the FTPG BOA account and had possession
of a debit/ATM card for the account.

6. Under Maryland Code, Election Law, § 13-218, the campaign treasurer was
responsible for maintaining the assets of a campaign finance entity. Similarly, under § 13-
218(b), the campaign finance entity’s assets “may be disbursed only if they have passed through
the hands of the treasurer” and only “in accordance with the purposes of the entity.”

Ti In addition, under § 13-220, a campaign finance entity “shall deposit all funds
received in a designated campaign account” and, subject to certain exceptions inapplicable to the
conduct described herein, may only make disbursements from its bank account by check or

electronic method—that is, specifically not by cash withdrawal.
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8. Under § 13-221, the treasurer “shall keep a detailed and accurate account book of
all assets received, expenditures made, and obligations incurred by or on behalf of the entity,”
and “[e]Jach expenditure made from a campaign account shall be supported by a receipt.”
Campaign finance entities for state offices in Maryland were required to file certain campaign
finance reports with the Maryland State Board of Elections. As FTPG treasurer, EDMOND
annually attested to the accuracy of the F TPG campaign finance reports under penalty of perjury.

The Wire Fraud Scheme

9. From at least in or about November 2012 through in or about June 2018, in the
District of Maryland and elsewhere, EDMOND knowingly and willfully devised and intended to
devise a scheme and artifice to defraud FTPG and the campaign contributors of FTPG, and
obtain money and property by means of materially false and fraudulent pretenses,
representations, and promises, with the intent to defraud and knowledge of the scheme’s
fraudulent nature (“the wire fraud scheme”).

Manner and Means of the Wire Fraud Scheme

It was part of the wire fraud scheme that:

10. EDMOND, without authorization and in violation of Maryland campaign finance
laws, would utilize campaign funds from the FTPG BOA account for her personal use.

11. EDMOND deposited certain checks from campaign contributors directly into her
personal bank account at BOA, instead of into the FTPG BOA account.

12. EDMOND would receive and deposit campaign contributions into the FTPG
BOA account and convert them to her own use without causing the contributions to be identified

on campaign finance reports made to the Maryland State Board of Elections.
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The Charge
13. On or about June 25, 2018, in the District of Maryland and elsewhere, the

defendant,

ANITRA EDMOND,
for the purpose of executing and attempting to execute the wire fraud scheme, knowingly
transmitted and caused to be transmitted the following by means of wire communication in
interstate commerce: a wire communication sent outside of Maryland regarding an $800 cash

withdrawal from the FTPG BOA account.

18 U.S.C. § 1343
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FORFEITURE ALLEGATION

The United States Attorney for the District of Maryland further finds that:

l. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with
18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the
defendant’s conviction on Count One of this Information.

Wire Fraud Forfeiture
2. Upon conviction of the offense set forth in Count One, pursuant to 18 U.S.C.
§ 981(a)(1)(C), the defendant,
ANITRA EDMOND,
shall forfeit to the United States any and all property, real or personal, which constitutes or is
derived from proceeds traceable to such offense, including but not limited to a money judgment
of at least $35,188.63 in United States currency.
Substitute Assets

3. If, as a result of any act or omission of any defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court:

d. has been substantially diminished in value; or,

e. has been commingled with other property which cannot be subdivided

without difficulty,
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the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), shall
be entitled to forfeiture of substitute property up to the value of the forfeitable property described

above.

18 U.S.C. § 981(a)(1)(C)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

Date: October ay 2019 Roba Al kK. Hu MPD)
Robert K. Hur
United States Attorney

 
